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November 29, 2023

VIA ECF

United States District Court
Honorable Lewis J. Liman
500 Pearl Street

New York, NY 10007

Re: Andrade-Barteldes vy, ASA College, Inc., et al. — No. 23-ev-495
Status Report

Dear Judge Liman,

This firm represents the plaintiff, Ernest Andrade-Barteldes, in the above-referenced civil
action. This action seeks recovery under the Fair Labor Standards Act and New York Labor Law
of unpaid minimum wages and non-payment of wages by defendants to the plaintiff and a large
group of adjunct instructors formerly employed by the defendants. This action when
commenced was stylized as a class action and collective action, and, on April 4, 2023, plaintiff
moved for certification of the class and collective.

All of the defendants in this action have been served with process (ECF Docket #30, 32,
33). Defendants ASA College, Inc. (“ASA”) and Alexander Shchegol (“Mr. Shchegol”) have not
responded to the complaint or otherwise appeared in this action. Defendant Jose Valencia (“Mr.
Valencia”) filed an Answer (ECF Docket #45) and appeared by telephone for a conference with
the Court, but has not responded to plaintiff’s Motion for Certification of the Class and
Collective, has not responded to plaintiffs discovery requests, and has not responded to the
Court’s Order to Show Cause why he should not be deemed in default (ECF Docket #55-57).

Given the procedural history as described above, plaintiff requests that the Court issue a
Decision and Order granting plaintiff’s Motion for Certification of the Class and Collective, and
issue an Order finding that Mr. Valencia is in default. With those Orders, Plaintiff will enter
default against all Defendants at the same time, and then will file a motion for default judgment
against all Defendants on behalf of the class and collective simultaneously. Plaintiff posits that
proceeding in this manner and order would result in the most efficient use of the Court’s time and
avoids piecemeal litigation of Defendants’ defaults.
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Thank you for the Court’s time and attention to this matter.
Respectfully submitted,

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We

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